






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00683-CV






Earnest Taylor, Appellant


v.



Vernice Hill, Appellee





FROM THE DISTRICT COURT OF LEE COUNTY, 21ST JUDICIAL DISTRICT


NO. 12334, HONORABLE TERRY L. FLENNIKEN, JUDGE PRESIDING







M E M O R A N D U M   O P I N I O N



	Appellant Earnest Taylor filed his notice of appeal on October 13, 2005, and the
clerk's record was filed on November 28, 2005.  On February 10, 2006, Taylor requested an
extension of time to file his brief.  On March 30, 2006, this Court granted Taylor an extension of
time to file his brief until May 1, 2006.  On May 8, 2006, this Court notified Taylor that his brief
was overdue.  On May 11, 2006, Taylor sought another extension of time to file his brief and
notified this Court that, although no motion to withdraw had been filed, he was proceeding pro se. 
On June 13, 2006, this Court granted Taylor an extension of time to file his brief until July 3,
2006.  On July 18, 2006, this Court notified Taylor that his brief was again overdue and asked him
to file a motion by July 28, 2006, explaining his failure to file his brief.  Taylor did not respond
to that notice.  On August 17, 2006, the Clerk of this Court sent Taylor notice that his brief was
"long overdue" and directed him to tender his brief pro se or obtain counsel and file a brief by
September 18, 2006.  That notice warned Taylor that his failure to take such action by September
18, 2006, would result in the dismissal of his appeal for want of prosecution.  To date, Taylor has
not responded to this Court's notice.  Accordingly, we dismiss the appeal for want of prosecution. 
Tex. R. App. P. 42.3(b), (c).



					__________________________________________

					Bob Pemberton, Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Dismissed for Want of Prosecution

Filed:   October 6, 2006


